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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN


SHARINA JONES, Individually,             :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :                Case No. 1:17-cv-37
                                         :
AMWAY HOTEL CORPORATION                  :
A Domestic Company                       :
                                         :
             Defendant.                  :
_______________________________________/ :

                                            COMPLAINT


          Plaintiff, Sharina Jones (hereinafter “Plaintiff”), hereby sues the Defendant, Amway

Hotel Corporation, a Domestic Company (hereinafter “Defendant”), for Injunctive Relief, and

attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. §12181 et seq. (“ADA”), and for damages pursuant to the Michigan Persons With

Disabilities Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq. In support thereof, Plaintiff

states:

1.        This action is brought by Sharina Jones, and all persons similarly situated, pursuant to the

enforcement provision of the Americans With Disabilities Act of 1990 (“ADA”), 42 U.S.C.

12188(a) and the Michigan Persons with Disabilities Civil Rights Act (“PDCRA”), MCL 37.1101

et. seq., against the owners and/or operators of the Amway Hotel.

2.        This Court has jurisdiction pursuant to the following statutes:

                 a.      28 U.S.C. §1331, which governs actions that arise from the Defendant’s

          violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq. See

          also 28 U.S.C. §2201 and §2202.
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                b.     28 U.S.C. §1331, which gives District Courts original jurisdiction over civil

        actions arising under the Constitution, laws or treaties of the United States; and

                c.     28 U.S.C. §1343 (3) and (4), which gives District Courts jurisdiction over

        actions to secure civil rights extended by the United States government.

3.      Venue is proper in this judicial district and division. Defendant does business in the State

of Michigan, and all of the acts of discrimination alleged herein occurred in this judicial district

and division.

                                             PARTIES

4.      Plaintiff Sharina Jones is a resident of Genesee County, uses a wheelchair, and is an

individual with a disability within the meaning of ADA, 42 U.S.C. 12102(2), 28 C.F.R. 36.104,

and MCL 31.1103..

5.      Plaintiff Sharina Jones is substantially limited in performing one or more major life

activities, including but not limited to, walking and standing.

6.      Plaintiff Sharina Jones has been to the Amway Hotel located 187 Monroe Ave NW, Grand

Rapids, MI 49503

7.      Plaintiff Sharina Jones was a guest at the Amway Hotel on November 16, 2016.

8.      The Amway Hotel is a place of public accommodation within the meaning of Title III of

the ADA, 42 U.S.C. 12181, 28 C.F.R. 36.104, and MCL 37.1301.

9.      Defendant owns, leases, leases to, or operates Amway Hotel and is responsible for

complying with the obligations of the ADA and the PDCRA.




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                                              COUNT I

                                    VIOLATION OF THE ADA

10.      Plaintiff realleges paragraphs one (1) through eleven (9) of this Complaint and

incorporates them here as if set forth in full.

11.      Plaintiff is a frequent visitor to Grand Rapids for vacations and events, has visited the

property which forms the basis of this lawsuit, and has plans to return to the property in July

2017 to avail herself of the goods and services offered to the public at the property.

12.      On or about November 14, 2016, Plaintiff called Defendant and requested an accessible

King Room for a planned romantic get-away weekend with her spouse.

13.      Plaintiff was informed by Defendant that an accessible King Room would be available

for her when she checked in on November 16, 2016.

14.      On November 16, 2016, Plaintiff attempted to check-in to her reserved King Room, but

was informed that Defendant did not have any accessible King Rooms for individuals in a

wheelchair.

15.      Defendant informed Plaintiff that the only accessible room was one with two twin beds

and that there were no accessible king rooms.

16.      Defendant offered Plaintiff a non-accessible King Room at an additional cost of $146.00.

17.      Plaintiff, with little alternative, agreed to pay the additional exorbitant amount.

18.      Plaintiff was given an inaccessible king suite since it was the only bathroom that her

wheelchair could fit into.

17.      During the entire transaction, Defendant was extremely rude, non-cooperative, and

confrontational to Plaintiff because of her disability.


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18.      Defendant informed Plaintiff that they would never again accommodate her at their hotel

unless Plaintiff paid extra money for an “upgrade.”

12.      There are numerous architectural barriers present at Amway Hotel that prevent and/or

restrict access by Plaintiff, in that several features, elements, and spaces of the plaza at Amway

Hotel are not accessible to or usable by Plaintiff, as specified in 28 C.F.R 36.406 and the

Standards for Accessible Design, 28 C.F.R., Pt. 36, Appendix A (‘the Standards”).

13.      Elements and spaces which there are barriers to access at Amway Hotel include, but are

not necessarily limited to:

         a.     Defendant maintains a policy to have King Rooms available for able-bodied

individuals, but the same rooms are not made available to those individuals in wheelchairs.

         b.     Defendant maintains a policy to charge individuals in wheelchairs extra amounts

of monies for rooms, yet able-bodied individuals are not charged any additional cost.

         c.     Defendant fails to properly train and educate their employees in how to interact

with those individuals with disabilities.

         d.     Defendant maintains a policy to not train their employees in how to interact with

those individuals with disabilities.

14.      The discriminatory violations described in paragraph 13 of this Complaint were

personally encountered by Plaintiff. The Plaintiff, and all other mobility-impaired individuals

similarly situated have been denied access to, and have been denied the benefits of, services,

programs and activities of the Defendants’ buildings and facilities, and have otherwise been

discriminated against and damaged by the Defendants because of the Defendants’ ADA

violations, as set forth above.


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15.      The Plaintiff, and all others similarly situated, will continue to suffer such discrimination,

injury and damage without the immediate relief provided by the ADA as requested herein. The

Plaintiff, and all other individuals similarly situated, have been denied access to, and have been

denied the benefits of services, programs and activities of the Defendants’ buildings and its

facilities, the opportunity to use such elements, and have otherwise been discriminated against

and damaged by the Defendants because of the Defendants’ ADA violations, as set forth above.

16.      Plaintiff has standing to sue for every barrier to access for the mobility-impaired that

exists on the subject premises. Sharina Jones has standing to require that all barriers to access on

the property for the mobility-impaired are corrected, not merely only those Sharina Jones

personally encountered.

17.      Defendants' failure to remove the architectural barriers identified in paragraph thirteen

(13) constitutes a pattern or practice of discrimination within the meaning of 42 U.S.C. 12188

(b)(1)(B)(i) and 28 C.F.R. 36.503 (a).

18.      It would be readily achievable for the Defendant to remove the architectural barriers

identified above.

19.      Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that

have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant’s place of public accommodation since January 26, 1992, then the

Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

facility are readily accessible to and useable by individuals with disabilities, including

individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is one

which was designed and constructed for first occupancy subsequent to January 26, 1993, as
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defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and

useable by individuals with disabilities as defined by the ADA.

20.      The Defendant has discriminated against Plaintiff by denying her access to, and full and

equal enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations

of the buildings, as prohibited by 42 U.S.C. § 12182 et seq. and 28 CFR 36.302 et seq

21.      Defendant continues to discriminate against the Plaintiff, and all those similarly situated,

by failing to make reasonable modifications in policies, practices or procedures, when such

modifications are necessary to afford all offered goods, services, facilities, privileges, advantages

or accommodations to individuals with disabilities.

22.      Sharina Jones has a realistic, credible, existing and continuing threat of discrimination

from the Defendants’ non-compliance with the ADA with respect to this property as described,

but not necessarily limited to, the allegations in paragraph 13 of this Complaint. Plaintiff has

reasonable grounds to believe that she will continue to be subjected to discrimination in

violations of the ADA by the Defendants.

23.      Plaintiff is aware that it will be a futile gesture to re-visit the property until it becomes

compliant with the ADA, unless she is willing to suffer further discrimination.

24.      Plaintiff is without an adequate remedy at law and is suffering irreparable harm. Plaintiff

has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

25.      Notice to Defendant is not required as a result of the Defendant’s failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiffs or waived by the Defendant.
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26.      Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to make the property readily

accessible and useable to the Plaintiff and all other persons with disabilities as defined by the

ADA; or by closing the facility until such time as the Defendant cures its violations of the ADA.



                                              COUNT II

                                  VIOLATION OF THE PDCRA

27.      Plaintiff realleges paragraphs one (1) through twenty-six (26) of this Complaint and

incorporates them here as if set forth in full.

28.      The Defendant has discriminated against Plaintiff by denying her the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, and accommodations of a

place of public accommodation because of a disability, as prohibited by MCL 37.1302.

29.      Plaintiff has desired and attempted to enjoy the goods and services at Amway Hotel as a

patron. She has been prevented from doing so due to the existing architectural barriers at the

property. As a result, she has been distressed and inconvenienced thereby, and is entitled to

monetary damages for her injuries, as provided for in MCL 37.1606.

30.      As a result of being denied full access to the property, Plaintiff has suffered, and will

continue to suffer, emotional distress, humiliation, anxiety, anger, a loss of enjoyment of life, and

other consequential and incidental damages.



                                      PRAYER FOR RELIEF

32.      Because Defendant has engaged in the acts and practices described above, Defendant has

violated the law as alleged in this Complaint and unless restrained by this Honorable Court,
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Defendant will continue to violate the Constitution and laws of the United States of America, and

the State of Michigan, and will cause injury, loss and damage to the Plaintiff, and all others so

similarly situated.

WHEREFORE, Plaintiff respectfully requests that this Court:

       A.      Declare that Defendant has violated title III of the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq, 28 C.F.R. pt. 36, and the Michigan Persons With Disabilities

Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq.

               i.      by failing to bring Amway Hotel into compliance with the Standards

               where it is readily achievable to do so; and

               ii.     by failing to take other readily achievable measures to remove

               architectural barriers to access when it is not readily achievable to comply fully

               with the Standards.

       B.      Order Defendant:

               i.      to make all readily achievable alterations to the facility; or to make such

               facility readily accessible to and usable by individuals with disabilities to the extent

               required by the ADA;

               ii.     to make reasonable modifications in policies, practices or procedures, when

               such modifications are necessary to afford all offered goods, services, facilities,

               privileges, advantages or accommodations to individuals with disabilities

       C.      Award damages to Sharina Jones who has been aggrieved and injured by the

illegal acts of discrimination committed by Defendant;




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      D.    Award attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

§ 12205 and MCL 37.1606.

      E.    Order such other appropriate relief as the interests of justice may require.

                                           Respectfully Submitted,



                                           By: /s/ Pete M. Monismith_________
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